      Case 7:24-cr-01258       Document 45        Filed on 01/29/25 in TXSD          Page 1 of 2



                           IN THE UNITED STATES OF AMERICA
                              SOUTHERN DISTRICT OF TEXAS
                                   MCALLEN DIVISION

UNITED STATES OF AMERICA                               §
                                                       §
VS.                                                    §       CASE NO.: M-24-1258
                                                       §
VICTOR HUGO DE LA CRUZ, JR.                            §

      UNOPPOSED MOTION TO CONTINUE PRETRIAL AND JURY SELECTION

TO THE HONORABLE JUDGE OF SAID COURT:

        NOW COMES SANTOS MALDONADO, JR., Attorney and files this his Unopposed
Motion to Continue Final Pretrial and Jury Selection, on behalf of the Defendant VICTOR HUGO
DE LA CRUZ, JR., and respectfully requests this Honorable Court to continue his Final Pretrial,
January 31, 2025 at 9:00 a.m. and Jury Selection, February 4, 2025 at 9:00 a.m. for the following
reason(s):
                                                  I.
        Counsel for the Defendant is requesting additional time to resolve some issues and that the
case be reset. Defendant’s attorney is requesting that a Final Pretrial and Jury Selection in this case
be reset for 30 days.
        WHEREFORE, PREMISES CONSIDERED, Defendant prays that this Honorable Court
grant the Unopposed Motion to Continue Final Pretrial and Jury Selection for thirty (30) days or to
a date convenient to the Court.
                                       Respectfully Submitted,

                                       LAW OFFICE OF SANTOS MALDONADO, JR.
                                       209 E. University
                                       Edinburg, Texas 78539
                                       Telephone No.: (956) 381-4600
                                       Facsimile No.: (956) 381-4160
                                       E-mail: santosmaldonado209@yahoo.com


                                       BY: /s/Santos Maldonado, Jr.
                                       SANTOS MALDONADO, JR., Attorney For Defendant
                                       Federal ID No. 11813
                                       State Bar No.: 12855263
    Case 7:24-cr-01258        Document 45        Filed on 01/29/25 in TXSD          Page 2 of 2



                                 CERTIFICATE OF SERVICE
       This is to certify that on this 29th day of January, 2025, a true and correct copy of the above
and foregoing document was served on the Robert Searles Johnson, Asst. United States Attorney,
Southern District of Texas, McAllen, Division, by electronic format.


                                              /s/Santos Maldonado, Jr.
                                              SANTOS MALDONADO, JR.

                             CERTIFICATE OF CONFERENCE
        I have contacted Robert Searles Johnson, Assistant United States Attorney and he was
unopposed to this request.




                                              /s/Santos Maldonado, Jr.
                                              SANTOS MALDONADO, JR.
